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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS

                                                                  CIVIL ACTION NO. 3:18-cv-10123-KAR

TAMMY CAGLE,                                                  )
    Plaintiff                                                 )
                                                              )
vs.                                                           )
                                                              )
JUDGE THOMAS ESTES AND                                        )
BEHAVIORAL HEALTH NETWORK,                                    )
     Defendants                                               )

                    REPLY BRIEF OF THE DEFENDANT, THOMAS ESTES

      NOW COMES the defendant, Thomas Estes (hereinafter “Estes”), and hereby submits this

further memorandum of law in support of his Motion for Summary Judgment.

                                                     FACTS

      Estes respectfully refers the Court to his Local Rule 56.1 Statement of Material Facts, which

is incorporated herein by reference. 1 Briefly, DMH had contracted with the defendant,

Behavioral Health Network (hereinafter “BHN”) to provide clinician services to several courts of

the Massachusetts Trial Court (hereinafter “Trial Court”). The plaintiff, Tammy Cagle

(hereinafter “Plaintiff” or “Cagle”), was an employee of BHN and BHN assigned her as the court

clinician for the newly established Pittsfield Drug Court. Plaintiff was supervised by two BHN

employees and received all compensation from BHN. Estes was a justice of the Trial Court, and

was assigned to preside as the judge in the Pittsfield Drug Court. Plaintiff was transferred by

BHN in March 2017 due to communication issues with a separate and unrelated entity, the

Probation Department. The record is devoid of any admissible evidence that Estes or his



1
  Unless otherwise noted, the exhibits and defined terms referenced herein are those identified in and/or attached to
the Statement of Material Facts. Citation to Estes’ Statement of Material Facts shall be referred to as “SOF at ¶
___”, and citation to Plaintiff’s Additional Statement of Material Facts shall be referred to as “ASOF at ¶ ___”.


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employer, the Trial Court, were consulted or participated in the decision to transfer the Plaintiff

to an entity unrelated to the Trial Court.

                                   PROCEDURAL HISTORY

    On August 10, 2020, Estes filed his Motion for Summary Judgment. (Dkt. Nos. 82-84). On

October 7, 2020, Plaintiff filed her opposition to Estes’ Motion for Summary Judgment. (Dkt.

Nos. 99-100). At the hearing on November 23, 2020, the Court provided Estes until December

31, 2020, to file a reply brief. Estes then sought a brief extension to January 7, 2021, which was

allowed. (Dkt. No. 111-112). Plaintiff will then have an opportunity to address the arguments

raised herein.

                                             ARGUMENT

    Estes has moved for summary judgment as to Plaintiff’s sole remaining count against him,

which is a claim for Sex Discrimination/Hostile Work Environment in violation of M.G.L. c.

151B. (Dkt. Nos. 1, 35). More specifically, the Complaint alleges that Plaintiff was a female

employee at BHN contracted to work as a social worker for the Trial Court under the supervision

of then Judge Estes, that Estes discriminated against the Plaintiff based on her sex in that his

words and actions created an abusive workplace permeated with discriminatory intimidation and

sexually offensive behavior sufficiently severe or pervasive to alter the compensation, terms,

conditions or privileges of her employment, and that the Trial Court and BHN are strictly liable

for the conduct of their supervisors. (Dkt. No. 1 at ¶¶ 176-179).

    Plaintiff, however, has failed, as a matter of law, to show that the Trial Court is her employer

under a “joint employer” theory of liability and, regardless, fails to assert a claim against Estes

that is cognizable in the Commonwealth. Further, as set forth in the original memorandum of

law, c.151B does not allow for individual liability as alleged herein.




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I.       THE TRIAL COURT IS NOT A JOINT EMPLOYER OF THE PLAINTIFF

     Plaintiff’s claim for liability against Estes, although still unclear to Estes, appears to be

premised on the status of the Trial Court as a “joint employer” of Cagle. At the outset, the

procedural posture of this case renders a defense on the theory alleged virtually impossible.

While Estes recognizes that the Court gleaned that this was Cagle’s theory, it must be noted that

the term “joint employer” is conspicuously absent from the MCAD Charge of Discrimination

against the Trial Court, Dkt. No. 84-7, the Complaint before the Court, Dkt. No. 1, the Complaint

in State Court against the Trial Court, Dkt. No. 84-8, the Demand sent to the Trial Court, and the

Opposition to the Motion for Summary Judgment before this Court, Dkt. No. 99. Plaintiff has not

cited a single case which would support the imposition of liability against the Trial Court as a

joint employer or Estes as a supervisor particularly under the circumstances this case.

     Regardless of the misrepresentation of the facts adduced in discovery, what initially sets this

case apart from a typical employment situation is the fact that the Trial Court, as a public

institution established under the laws of the Commonwealth, stands in different shoes than all

other similarly situated employers. That the Eleventh Amendment prevents an institution such as

the Trial Court from being a party to this case alone creates an insurmountable hurdle for Estes,

requiring him, in effect, to defend his former employer, who has thus far refused to defend him.

Estes cannot bring the Trial Court into this Court to defend the position which, if successful,

would defeat the claim against him.

     While it is true that one other than a direct employer may be liable to a plaintiff under c.

151B, under such circumstances it is jointly and severally liable for violations under M.G.L.c.

151B. See Commodore v. Genesis Health Ventures, Inc., 63 Mass. App. Ct. 57, 61-63 (2005).

Thus, to require Estes to prove that the Trial Court is not a joint employer could, is essence, be to




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his detriment. Such gamesmanship should not be sanctioned by this court. If this argument is to

be considered, Estes requests that this Court stay this matter pending a decision in the state court.

         A. Estes’ Conduct Cannot Be The Basis Of The Determination That The Trial
            Court Is Plaintiff’s Joint Employer.

    Estes’ alleged conduct, without more, cannot create a joint employer relationship. It is settled

law that an employee of a government agency cannot bind the government under a theory of

apparent authority or estoppel. Dagastino v. Comm’r of Corr., 52 Mass. App. Ct. 456, 458

(2001). It is black letter law that those who contract with the officers or agents of a governmental

agency must, at their peril, see to it that those officers or agents are acting within the scope of

their authority.” See, e.g., Bowers v. Bd. of Appeals of Marshfield, 16 Mass .App. Ct. 29, 34

(1983); Pavone v. City of Worcester, 2006 Mass. Super. LEXIS 364, at *9-10 (July 3, 2006)

(finding that city manager was not required to honor promises made by police department

officials to police candidate, regardless of his reliance on the promises or the unfairness that the

circumstances as the lack of authority to speak for the city manager is deemed fatal to the

plaintiff’s claim).

    This Court cited Paragraph 11 of the Complaint as the support for the proffered theory. As

apparent authority cannot ground the claim, it cannot proceed. (Dkt. No. 1 at ¶ 11) (“The drug

court judge has the apparent authority to choose and retain his drug court team members to

insure fidelity to the drug court model in order to further a collaborative and none-adversarial

approach in the drug court—in essence he approves the hiring decisions and can make the firing

decisions.”).

    Simply put, Cagle cannot rely on statements or actions Estes, or frankly, any other witness in

this case, to ground the claim of joint employment. Cagle has not alleged, and the record is

devoid of any evidence of any statements or actions of those with actual authority which could



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result in finding the Trial Court to be a joint employer of Cagle. She failed to depose a single

witness from the Trial Court and has proffered no evidence that a single witness who testified did

so with authority to bind the Trial Court.

         B. The Admissible Evidence Fails To Support The Claim That The Trial Court Is A
            Joint Employer.

    While Estes respectfully suggests that the foregoing argument should end the inquiry as to

the status of the Trial Court, to be abundantly cautious, Estes states the admissible evidence

proffered would not support the claim as alleged. 2

    “An entity’s status as an employer typically hinges on whether it ‘has retained for itself

sufficient control of the terms and conditions of employment of the employees’ in question, and

whether it had the right to control and direct the means and manner in which those employees

perform services.” Colee Asia v. Res-Care Inc., 59 F. Supp. 3d 260, 266 (D. Mass. 2014)

(quoting     Thomas      O’Connor        Constructors,       Inc.   v.   Massachusetts        Comm'n       Against

Discrimination, 72 Mass. App. Ct. 549, 556 n.8 (2008) (internal citations omitted). “Several

factors should be considered in determining whether an entity is a joint employer, such as

whether it: 1) supervises the employee’s day-to-day activities, 2) has the authority to hire or fire

employees, 3) promulgates work rules and conditions of employment, 4) controls work

assignments, and 5) issues operating instructions.” Colee Asia, 59 F. Supp. 3d at 260 (citing

Orell v. UMass Memorial Med. Center, Inc., 62-63 (D. Mass. 2002)); accord Commodore, 63

2
  At the hearing, the Court acknowledged that the vast majority of the ASOF proffered by Plaintiff were inapplicable
to Estes and the claim against him. (Dkt. 109 at No. 23-24). Estes has now prepared a response to the ASOF, and
notes that many of the allegations are not supported by the referenced material, and/or inadmissible on their face as
they rely on emails and documents containing statements of non-parties or persons not deposed. See, e.g.,
Jean v. United States, 2002 U.S. Dist. LEXIS 20183, at *11 (D. Mass. Oct. 23, 2002) (“[A] party cannot create a
material issue of disputed fact through a self-serving affidavit that conflicts with his deposition testimony without
explaining the reason for the discrepancy.”); Quinones v. Houser Buick, 2005 U.S. Dist. LEXIS 14230, at *12 (D.
Mass. July 14, 2005) (same); see also Colantuoni v. Alfred Calcagni & Sons, Inc., 44 F.3d 1, 4-5 (1st Cir.
1994) (party attempted to resist summary judgment with affidavit that contradicted deposition testimony).




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Mass. App. Ct. at 62 n.5. There is not a scintilla of admissible evidence to support the finding of

joint employment when applying the paradigm set forth above.

    1. Estes Did Not Supervise Plaintiff’s Day-To-Day Activities.

    The record is replete with evidence that Plaintiff’s day to day activities had nothing

whatsoever to do with Estes. She independently interacted with members of the Probation

Department and other stakeholders absent the direction or knowledge of Estes. (See, e.g., 82,

102, 111-112, 263, 264).

    Plaintiff reliance on the Drug Court Protocol and that it identified the district court judge as

the leader of the “Team” is inapposite. Plaintiff’s own Exhibit 1 confirms that the member of

drug court team “may include a program coordinator, assistant district attorney, defense attorney,

probation officer(s), clerk, case manager, specialty court clinician, treatment providers, local law

enforcement, and representatives from local organizations that provide services to drug court

participants.” (Dkt. No. 100-1 at 11).     These participants render it clear that the Trial Court

could not be deemed a joint employer of all of its members. Indeed, such a conclusion is

ludicrous considering the obligations of a district attorney or a criminal defense attorney, whose

duties and loyalty are to the Commonwealth and the criminal defendant. (Id.; ASOF at ¶¶ 16-

21). Plaintiff is conflating the roles of the participants in the drug court with some sort of

supervision. (Exhibit 100-1).

    Setting aside Plaintiff’s self-serving assertions and conclusions, her supervisors were BHN

employees. (SOF at ¶¶ 18-19, ASOF at ¶¶ 57, 60, 74).

    2. Estes Did Not Have The Authority To Hire Or Fire Plaintiff.

    There is no dispute that Plaintiff never submitted an application to the Trial Court. (SOF at ¶

10-12, ASOF at ¶¶ 35-39). Plaintiff asserts that Estes had to approve Plaintiff’s hiring. The




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admissible evidence on the issue, based on testimony of the people with actual knowledge of the

process, testified that BHN and DMH made the final decision, and that Estes’ inclusion was a

courtesy and only a courtesy. (SOF at ¶ 10-21). Moreover, the record is devoid of any evidence

that Estes had actual authority to participate in Plaintiff’s hiring.

    Finally, as this Court acknowledged, see Dkt. No. 109 at 9-10, it is abundantly clear that

Estes had no part or control over Plaintiff’s removal from the drug court. (SOF at ¶¶ 10-21; see

also ASOP at ¶¶ 266-275, 295-296, 306-313). During argument, Plaintiff’s counsel

acknowledged that the record did not support a finding that Estes had the authority to make the

decision, or to even be consulted on it. (Dkt. No. 109 at 17-18).

    3. Estes Did Not Promulgate Work Rules And Conditions Of Plaintiff’s Employment, Did
       Not Control Plaintiff’s Work Assignments and Did Not Issue Operating Instructions.

    Estes’ role was that of a judge overseeing a Court session. While the drug court offered a

modified process for criminal defendants charges with certain drug offenses, see Dkt. No. 100-1,

court was nevertheless a court wherein criminal defendants were prosecuted and defended by

attorneys, but were given the opportunity to obtain substance abuse treatment with the assistance

of certain providers. (Id.). Like court rules, the Drug Court Protocol sought to provide guidance

for the potential participants in the program.          This form of delayed justice in favor of

rehabilitation, however, did not convert the courtroom into a place of employment for all parties

to the “team”. (SOF at ¶¶ 10-21, ASOF at ¶ 4). There are no facts that Estes’ “oversight” of

work performed by Plaintiff was anything more than what would be expected of a judge

controlling his or her session.

    Further, the Trial Court did not contract with BHN for its services. (SOF at ¶¶ 5-8). Rather,

BHN – Plaintiff’s employer – contracted with DMH. (Id.). It should also not be lost on this

Court that DMH, while part of the Commonwealth, is a different branch of government than the



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Trial Court. DMH falls under the executive branch, while the Trial Court falls under the judicial

branch. Plaintiff did not depose witnesses or seek any discovery from the Trial Court in this

action, but only deposed a witness from DMH.

      As such, this case lacks any of the indicia that is usually required to conclude that a party is a

“joint employer.”

II.      THERE IS NO CASE LAW APPLYING CHAPTER 151B TO THESE
         CIRCUMSTANCES.

      In order for this Court to attach liability against Estes, the Court must recognize a cause of

action that has not been acknowledged by this Court or a Court of the Commonwealth.

      There is no case law that a constitutionally appointed judge acting in that capacity results in

either the judge or the Trial Court becoming an “employer” as defined by Chapter 151B. Indeed,

there is no law – and for good reason – that would allow a plaintiff to import tenets from the

doctrine of agency to the relationship of a judge and his or her court. Applying principals of

agency, liability passes from the supervisor to the employer because of the supervisor’s ability to

effect a significant change in an employee’s employment status, such as hiring, firing, failing to

promote, reassignment with significantly changed responsibilities, or a decision causing a

significant change in benefits by an employer. See Vance v. Ball State University, 570 U.S. 421,

429 (2012) (describing the agency relationship between the employer and a supervisor as one

where the supervisor can take tangible employment action); see also College-Town, Div. of

Interco, Inc., 400 Mass. at 165-167 (concluding that Chapter 151B requires vicarious liability for

harassment claims based on a supervisor’s conduct). The power of a judge to control his or her

courtroom is an inherent power based on hundreds of years of jurisprudence. See First Justice of

the Bristol Div. of the Juvenile Court Dep’t v. Clerk-Magistrate of the Bristol Div. of the Juvenile

Court Dep't, 438 Mass. 387, 397-398 (2003) (discussing the boundaries of inherent judicial



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authority and its power to commit the fiscal resources of the Commonwealth and other

governmental agencies necessary to ensure the proper operation of the courts, to make rules

governing the internal organization of the courts and to control the practice of law, and to control

and supervise personnel within the judicial system). The Supreme Judicial Court has noted that

this last power “is perhaps the least controversial and includes a judge’s power to ‘to control [a

court’s] own proceedings, the conduct of participants, the actions of officers of the court and the

environment of the court.’” Id. (quoting Chief Admin. Justice of the Trial Court v. Labor

Relations Comm'n, 404 Mass. 53, 57 (1989)); Carrasquillo, Jr. v. Hampden County Dist. Courts,

484 Mass. 367, 384 (2020) (same and noting that the court has the power to review CPCS’s

decisions regarding caseload determinations).

       To infuse tenets of employment law into this situation, especially as to a judge and the

various parties that appear before the Court, is not consistent with the scope and limitations of c.

151B.

III.      PLAINTIFF’S CLAIMS ARE BARRED BY THE ELEVENTH AMENDMENT.

       In light of the theory of liability being asserted by Plaintiff, her claim for violation of c. 151B

against Estes must be dismissed pursuant to the Eleventh Amendment. The Eleventh

Amendment states:

                  The Judicial power of the United States shall not be construed to extend to
                  any suit in law or equity, commenced or prosecuted against one of the
                  United States by Citizens of another State, or by Citizens or Subjects of
                  any foreign state.

       As interpreted, the Eleventh Amendment bars suit against a state by citizens of that state in

federal court. Seminole Tribe of Florida v. Florida, 517 U.S. 44, 47 (1996). It precludes the

bringing of a federal claim against a state official based on an allegation that such official

violated state law in carrying out his duties. See Fuller v. Board of Selectmen, 1994 U.S. Dist.



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LEXIS 4351, at *7 (D. Mass. Mar. 14, 1994) (finding that a Massachusetts state judge is a state

official and therefore entitled to Eleventh Amendment immunity); see also Pennhurst State

School and Hospital v. Halderman, 465 U.S. 89, 101, (1984); LaManque, et al. v. Massachusetts

Dept. of Employment and Training, et al., 3 F. Supp. 2d 83, 93-94 (D. Mass. 1998); see also

Orell, 203 F. Supp. 2d at 60.

      Here, Estes was named in his official capacity only. In fact, he is identified as Judge Estes in

the caption. (Dkt. No. 1 at ¶¶ 172-174).

      As such, the claim cannot proceed before this Court.

IV.       CHAPTER 151B LIMITS PLAINTIFF’S CLAIMS TO EMPLOYERS, NOT
          SUPERVISORS.

      Plaintiff’s Complaint and the sole remaining count against Estes asserts claims consistent

with M.G.L. c. 151B, § 4(1) and (16A). (Dkt. No. 1 at ¶¶ 176-179). Further, Plaintiff’s Charge in

the MCAD also only identified claims pursuant to M.G.L. c. 151B, § 4(1) and (16A). (Dkt. No.

84-7). To the extent that Plaintiff failed to assert other claims, especially since Estes was not a

respondent, such claims are barred for the reasons set forth in Section II of Estes’ Memorandum

of Law. (Dkt. No. 83 at 3-4).

      Regardless, the Supreme Judicial Court “has not yet established whether supervisors are

subject to liability” under c. 151B, § 4(1), or § 4(16A). Orell, 203 F. Supp. 2d at 65. “Under

[M.]G.L.c. 151B, ‘employer’ is defined as any ‘employer’ with six or more ‘persons in his

employ.’” Thomas O’Connor Constructors, Inc., 72 Mass. App. Ct. at 562 n.1 (quoting M.G.L.c.

151B, § 4(1)). “Sections 4(1) and 4(16A) of chapter 151B provide the statutory basis for

employer liability in cases of sexual harassment.” Massachusetts Commission Against

Discrimination, Guidelines on 151B: Sexual Harassment in the Workplace (emphasis added). 3


3
    Available at https://www.mass.gov/doc/mcad-guidelines-on-sexual-harassment-laws-in-employment/download.


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Section 4(1) provides that “[i]t shall be an unlawful practice … [f]or an employer, by himself or

his agent, because of the … sex ... of any individual to refuse to hire or employ or to bar or to

discharge from employment such individual or to discriminate against such individual in

compensation or in terms, conditions or privileges of employment….” M.G.L. c. 151B, § 4(1)

(emphasis added). Section 4(16A) provides that it is also an unlawful practice “[f]or an

employer, personally or through its agents, to sexually harass any employee….” Id. at § 4(16A)

(emphasis added). Based on the plain language of these two provisions under Chapter 151B, the

SJC has determined that it was the Legislature’s intent to make an “employer be liable for

discrimination committed by those whom it confers authority” or, in other words, to make

employers vicariously liable for the misconduct of their supervisors. See College-Town, Div. of

Interco, Inc., 400 Mass. at 165-167 (concluding that Chapter 151B requires vicarious liability for

harassment claims based on a supervisor’s conduct); Thomas O'Connor Constructors, Inc., 72

Mass. App. Ct. at 564 (same); see also Commonwealth. v. Gernrich, 476 Mass. 249, 251 (2017)

(“The language of a statute is interpreted in accordance with its plain meaning”).

    Neither provision, however, creates individual liability for the supervisors. To conclude as

much would contradict the plain language of the statute, and also contradict the SJC’s own

reading of the statutes to assert that the Legislature was creating vicarious liability for employers

for the acts of its personnel, and the reasons for doing so. College-Town, Div. of Interco, Inc.,

400 Mass. at 165-167. Compare with M.G.L. c. 151B, § 4(4) (creating liability for retaliation as

to “any person, employer, labor organization or employment agency”); id. at § 4(4A) (creating

liability for retaliation as to “any person”); id. at § 4(5) (creating liability for aiding and abetting




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as to “any person, whether an employer or an employee or not”); further compare with 42 U.S.C.

§ 2000e-2(a) (“It shall be an unlawful practice for an employer….”). 4

    Plaintiff’s interpretation would subvert the clear interpretation by the SJC. To that end,

Plaintiff will likely cite to a Massachusetts Appeals Court decision, Beaupre v. Cliff Smith &

Associates, 50 Mass. App. Ct. 480 (2000). Beaupre, while a clumsy decision whose precedential

value should be limited, simply states that these statutes “allow for personal liability under the

theory of aiding and abetting.” Orell, 203 F. Supp. 2d at 65.

    Here, Plaintiff has asserted violations of Sections 4(1) and 4(16A) of c. 151B. These

unlawful acts or practices forbid conduct attributable to the employer – either directly or

vicariously – and to find otherwise would be an expansion of liability under c. 151B not

recognized by the SJC. Other statutes, like the ones identified above, specifically forbid conduct

by persons other than the employer. As such, because Estes’ alleged conduct does not fall within

those categories of unlawful practices or acts forbidden by the statutes asserted by Plaintiff, he

cannot be liable for them.

                                               CONCLUSION

    Wherefore, summary judgment should enter in favor of Estes.




4
 The Massachusetts statute states that “[i]t shall be an unlawful practice … [f]or an employer, by himself or his
agent,” and ““[f]or an employer, personally or through its agents….” M.G.L. c. 151B, §§ 4(1), (16A). As noted
above, this has been interpreted to require vicarious liability, especially when compared to 42 U.S.C. § 2000e-2(a).
Neither statute, however, affords individual liability to a non-employer.


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                                              Respectfully submitted,

                                              THE DEFENDANT
                                              JUDGE THOMAS ESTES

Dated: January 7, 2021
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                                CERTIFICATE OF SERVICE

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participants** on this 7th day of January, 2021.

**n/a

                                                     /s/ Nancy Frankel Pelletier
                                                     Nancy Frankel Pelletier




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